Case 2:20-cv-00800-CCW Document 62-2 Filed 12/16/21 Page 1 of 13




                       Exhibit 2
Case 2:20-cv-00800-CCW Document 62-2 Filed 12/16/21 Page 2 of 13




16th     November
Case 2:20-cv-00800-CCW Document 62-2 Filed 12/16/21 Page 3 of 13
Case 2:20-cv-00800-CCW Document 62-2 Filed 12/16/21 Page 4 of 13
Case 2:20-cv-00800-CCW Document 62-2 Filed 12/16/21 Page 5 of 13
Case 2:20-cv-00800-CCW Document 62-2 Filed 12/16/21 Page 6 of 13
Case 2:20-cv-00800-CCW Document 62-2 Filed 12/16/21 Page 7 of 13
Case 2:20-cv-00800-CCW Document 62-2 Filed 12/16/21 Page 8 of 13
Case 2:20-cv-00800-CCW Document 62-2 Filed 12/16/21 Page 9 of 13
Case 2:20-cv-00800-CCW Document 62-2 Filed 12/16/21 Page 10 of 13
Case 2:20-cv-00800-CCW Document 62-2 Filed 12/16/21 Page 11 of 13
Case 2:20-cv-00800-CCW Document 62-2 Filed 12/16/21 Page 12 of 13




           16
Case 2:20-cv-00800-CCW Document 62-2 Filed 12/16/21 Page 13 of 13
